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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF FLORIDA

No. 1-2loaGKLD

UNITED STATES OF AMERICA
vs.

ESNARDO CABRERA HERNANDEZ,

 

 

Defendant.
/
CRIMINAL COVER SHEET
1. Did this matter originate from a matter pending in the United States Attorney’s Office prior
to April 1, 1999? Yes x No
If yes, was it pending in the Central Region?
___ Yes No
2. Did this matter originate from a matter pending in the United States Attorney's Office prior
to April 1,2003? _ Yes x_ No
3. Did this matter originate from a matter pending in the Narcotics Section (Miami) of the
United States Attorney’s Office prior to May 18, 2003? _ Yes x No
4. Did this matter originate from a matter pending in the Northern Region of the United States
Attorney’s Office prior to October 14, 2003? Yes x_ No
Respectfully submitted,

R. ALEXANDER ACOSTA
UNITED STATES ATTORNEY

wv Cota @. bed

RANDALL D. KATZ

ASSISTANT UNITED STATES ATTORNEY
Court I.D. Number A5500942

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United States District Court

SOUTHERN DISTRICT OF FLORIDA

UNITED STATES OF AMERICA
Vv. CRIMINAL COMPLAINT

ESNARDO CABRERA HERNANDEZ

CASE NUMBER: /) 4) -AlePPRLD

|, the undersigned complainant, being duly sworn, state the following is true and correct to the best of my
knowledge and belief. On or about March 12, 2007 and continuing through on or about April 24, 2007, in Miami-
Dade County, in the Southern District of Florida, the defendant, ESNARDO CABRERA HERNANDEZ, did knowingly
and willfully execute, and attempt to execute, a scheme or artifice—(1) to defraud any health care benefit program
and (2) to obtain, by means of false and fraudulent pretenses, representations, and promises, any of the money
and property owned by, and under the custody and control of, any health care benefit program, in connection with
the delivery of and payment for health care benefits, items, and services purportedly provided by 1st Medical
Supply, Inc., a company he owned, in violation of Title 18, United States Code, Sections 1347 and 2.

| further state that | am a Special Agent with the Federal Bureau of Investigation and that this complaint is based
on the following facts:

SEE ATTACHED AFFIDAVIT

SHAUN O'NEILL
SPECIAL AGENT
FEDERAL BUREAU OF INVESTIGATION

Sworn to before me, and subscribed in my presence,

 

 

MAY 10, 2007 at Miami, Florida
Date City and State
ROBERT L. DUBE .

UNITED STATES MAGISTRATE JUDGE
Name and Title of Judicial Officer Signature of Judicial Officer
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AFFIDAVIT
I, Special Agent Shaun O'Neill, being duly sworn, do hereby depose and state:

1. I am a Special Agent with the Federal Bureau of Investigation (“FBI”),
and am currently assigned to the Miami Field Office. I have been employed in this
capacity for nine years. Prior to becoming a Special Agent, I worked as a Financial
Analyst for a large hospital system. I am a Certified Public Accountant with an active
license. I am presently assigned to investigate violations of federal law, including
conspiracies to commit health care fraud, false claims to Medicare, and false statements.

2. I am personally involved in conducting a joint investigation with other
agents and officers, along with representatives from the Centers for Medicare &
Medicaid Services ("CMS") and agents of CMS. The statements contained in this
affidavit are based upon information provided by CMS and its representatives, a review
of both public and private records, and interviews conducted by myself and other federal
agents. Because this affidavit is submitted for the limited purpose of establishing
probable cause, I have not included all facts known to me in this affidavit, and have only
set forth the facts that I believe are necessary to establish probable cause.

3. Your Affiant submits that there is probable cause to believe that, from at
least March 12, 2007 through on or about April 24, 2007, ESNARDO CABRERA
HERNANDEZ (“HERNANDEZ”) - through his company, 1ST MEDICAL SUPPLY,
INC. (“1ST MEDICAL”) - conspired with others to defraud Medicare by submitting and
causing to be submitted to CMS and its agents, false claims for durable medical
equipment ("DME") that were not actually provided to Medicare beneficiaries and that

were not prescribed by medical doctors, in violation of 18 U.S.C. §§ 1347 and 2. After
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receiving payments from Medicare for these fraudulent billings, it was the purpose of the
conspiracy for HERNANDEZ and other coconspirators, namely, YOEL MIRANDA
QUINTERO ("QUINTERO"), GUILLERMO COWLEY ("COWLEY"), ROLANDO
MORALEDA ("MORALEDA"), YADIRA ALLUE ("ALLUE") and ISMAEL IRAOLA
LAZANO ("LAZANO"), to evade federal currency transaction reporting requirements by
causing structured withdrawals of IST MEDICAL money through cashing of checks less
than $10,000 for their personal use and benefit, in violation of 31 U.S.C. § 5324(a)(3), all
in violation of 18 U.S.C. § 371.
The Federal Medicare Program

4. Medicare is a federal insurance program that provides coverage for people
age 65 years or older and for certain disabled people. The Department of Health &
Human Services (“HHS”’) is responsible for the administration of the Medicare Program.
CMS is the component agency of HHS that administers and supervises the Medicare
Program. CMS has contracted with Trust Solutions Inc. ("Trust Solutions") and Palmetto
GBA (“Palmetto”), to receive, adjudicate, process, and pay certain Medicare claims
submitted by Medicare beneficiaries and medical service providers in Florida.

5. HERNANDEZ and 1ST MEDICAL purport to provide DME to Medicare
beneficiaries who are insured by Part B of the Medicare Program, which is a medical
insurance program that pays providers and suppliers for goods and services, like DME.
Any medical equipment that provides a therapeutic benefit or enables a patient to
perform tasks that he or she is unable to otherwise undertake is considered by DME.

6. The types of DME in this investigation include powered pressure reducing

air mattresses, urinary leg bags, wound dressings, and external catheters. Such equipment
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is paid for by Medicare Part B if it is medically necessary for the patients, who are also
Medicare beneficiaries, and ordered by a treating physician.

7. 1ST MEDICAL is a DME company that sought and received
reimbursement from Palmetto for DME equipment and supplies. 1ST MEDICAL, like
all DME companies that bill Medicare, must follow Medicare's billing requirements,
which include the obligations to: (a) bill Medicare for only reasonable and necessary
medical services; (b) provide economical medical services when those services are
medically necessary; (c) assure that services provided are not substantially in excess of
the needs of such patients; and (d) not make false statements or misrepresentations of
material facts concerning requests for payment under Medicare.

8. In order to bill Medicare for services rendered, a DME company submits
claims on Form 1500 (a claim form) to Palmetto. When a Form 1500 is submitted, the
DME company certifies that the contents of the form are true, correct, complete and that
the form was prepared in compliance with the laws and regulations governing the
Medicare program. Some DME companies file claims directly with Palmetto, others
contract with a billing service that processes the claims on behalf of DME companies.

9. Before billing Medicare for DME provided to Medicare patients, a DME
company must first obtain a prescription and certificate of medical necessity ("CMN")
from a medical doctor for the Medicare beneficiary receiving the DME. Once the DME
receives the prescription and CMN from the medical doctor, the DME company provides
the necessary equipment. The DME company then submits a claim to Palmetto directly
or sends a request for payment to a billing service, which in turn files the claim with

Palmetto. DME companies indicate on their claims for payment which policy group
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codes and procedures they are billing. Policy group codes and procedure codes indicate
the types of equipment that Medicare is being billed for.

10. A Medicare claim is required to set forth, among other things, the
beneficiary’s name and Medicare identification number, the services performed for the
beneficiary, the date the services were provided, the cost of the services, and the name
and rendering unique provider identification number (UPIN) of the physician or other
health care provider who ordered the services.

Medicare Fraud Committed by HERNANDEZ

11. On February 10, 2006, 1ST MEDICAL was incorporated under the laws
of Florida. On February 21, 2007, HERNANDEZ was added in the articles of
incorporation as the sole owner, officer, director, and registered agent of IST MEDICAL.

12. 1ST MEDICAL’s business address is 13370 SW 131 Street, Suite 103,
Miami, Florida, 33186, as listed in corporate and Medicare records.

13. Prior to HERNANDEZ becoming the owner of the corporation, 1ST
MEDICAL had received a Medicare provider number, 5762410001, and was eligible to
submit claims to Medicare under that provider number.

14. During the period from on or about March 12, 2007, through April 24,
2007, 1ST MEDICAL submitted $2,513,328.19 in claims to Medicare, and was paid
approximately $451,490.61 for services purportedly rendered to Medicare beneficiaries
from the same time period. Out of these total billings, 165 claims totaling $51,266.12
were made after the date of the beneficiaries death. 1ST MEDICAL received payments
from Medicare via electronic funds transfer ("EFT"). The EFTs were deposited into Bank

of America account number 00556806XXXX (‘Bank of America account’’), which was
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amended to reflect HERNANDEZ as the President and sole authorized signor of that
account on March 5, 2007. HERNANDEZ's signature appears on all of the checks drawn
on this account.

15. 1ST MEDICAL’s top three referring and prescribing physicians are doctors
Dr. R.M., Dr. B.R., and Dr. H.R. These doctors were interviewed and each stated that he
or she did not prescribe any items billed using their names by 1ST MEDICAL.

16. Four patients who allegedly received equipment from 1ST MEDICAL were
interviewed. Patients J.B., A.H., H.H., and B.M. all stated they did not receive any
equipment from 1ST MEDICAL nor have they been treated by any of the
referring/prescribing physician who allegedly treated each.

Medicare Fraud Proceeds & Structuring Violations

17. Between March 21, 2007 and April 30, 2007, $456,206.63 in Medicare
proceeds were deposited into the Bank of America account. Shortly after the deposits, the
funds were depleted through checks written to, among others, various individuals.

18. Beginning on March 21, 2007 and continuing through at least April 30,
2007, HERNANDEZ signed over thirty checks, in even amounts, to various individuals
with the majority of amounts ranging from $6,800 to $9,900. HERNANDEZ was the
signor for all checks drawn against 1ST MEDICAL account during this time period,
including one check and withdrawal made payable to himself, totaling $18,400.

19. A currency transaction report ("CTR") is a report that is filled out on a
United States Department of Treasury ("Treasury"), Internal Revenue Service Form 4789.
A bank or other financial institution is required by federal law to file a CTR with Treasury

for each financial transaction that involves United States currency of more than $10,000.
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Such transactions include deposits, withdrawals, exchanges of currency, or other
payments or transfers by, through, or to the bank or other financial transaction.

20. After Medicare funds were deposited into the Bank of America account,
many checks were written to various individuals under the $10,000 reporting requirement.

21. On or about March 26, 2007, HERNANDEZ made a withdrawal in the
amount of $8,600 drawn on the Bank of America account. This transaction was recorded
by bank surveillance cameras.

22. On or about April 18, 2007, GUILLERMO COWLEY cashed check
number 1077 for $9,800. The check was signed by HERNANDEZ, drawn on the Bank of
America account, and the transaction was recorded by bank surveillance cameras.
COWLEY cashed 1ST MEDICAL checks in similar amounts on three other occasions.

23. On or about April 14, 2007, ROLANDO MORALEDA cashed check
number 1063 for $8,700. The check was signed by HERNANDEZ, drawn on the Bank of
America account, and the transaction was recorded on bank surveillance cameras.
MORALEDA cashed 1ST MEDICAL checks in similar amounts on four other occasions.

24. On or about April 14, 2007, YADIRA ALLUE cashed check number 1065
for $7,900. The check was signed by HERNANDEZ, drawn on the Bank of America
account, and the transaction was recorded by bank surveillance cameras. ALLUE cashed
1ST MEDICAL checks in similar amounts on seven other occasions.

25. On or about April 17, 2007, YOEL MIRANDA QUINTERO cashed check
number 1069 for $8,600. The check was signed by HERNANDEZ, drawn on the Bank of
America account, and the transaction was recorded by bank surveillance cameras.

QUINTERO cashed one additional 1ST MEDICAL check in a similar amount.
 

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26. On or about April 17, 2007, IEMAEL IRAOLA LAZANO cashed check
number 1070 for $9,600. The check was signed by HERNANDEZ, drawn on the Bank of
America account, and the transaction was recorded by bank surveillance cameras.
LAZANO cashed 1ST MEDICAL checks in similar amounts on four other occasions.

27. Your Affiant submits there is probable cause to believe that HERNANDEZ
knowingly and willfully committed health care fraud, in violation of 18 U.S.C. §§ 1347
and 2 and that COWLEY, MORALEDA, ALLUE, IRAOLA and QUINTERO did
conspire to evade the reporting requirements of 31 U.S.C. § 5313(a) and the regulations
prescribed thereunder, to structure, assist in structuring, and attempt to structure,
transactions with one or more domestic financial institutions, in violation of 31 U.S.C. §

5324(a)(3), all in violation of Title 18 U.S.C. § 371.

I declare under penalty of perjury that the foregoing is true and correct this 10th

day of May 2007, in Miami, Florida.

FURTHER AFFIANT SAYETH NAUGHT

Jib Bue

Shaun O'Neill
Special Agent
Federal Bureau of Investigation

 

Sworn to and subscribed before
me this \Q day of May, 2007, in Miami, Florida

ROBERT L. DUBE
UNITED STATES MAGISTRATE JUDGE
